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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SUNIL BHATIA, derivatively on behalf of
MEDVALUE OFFSHORE SOLUTIONS,
INC.,                                                 Case No. 1:18-cv-02387

                        Plaintiff,
                                                      Honorable Robert M. Dow
v.                                                    Magistrate Judge Beth W. Jantz

RAJU VASWANI, an individual,
KARAN VASWANI, an individual,                         JURY TRIAL DEMANDED
ASSIVO, INC. (f/k/a MV OUTSOURCING,
INC.), an Illinois Corporation,

                        Defendants,

and

MEDVALUE OFFSHORE SOLUTIONS,
INC.,

                        Nominal Defendant

                              SUNIL BHATIA’S STATUS REPORT

         Pursuant to this Court’s order of June 10, 2020 (Dkt. 147), Plaintiff Sunil Bhatia by and

through his undersigned counsel submits the following status report:

         Following the parties’ July 1, 2020, telephonic meet and confer regarding what historical

data Plaintiff should have access to from the Google AdWords account in order for Plaintiff to

supplement his responses to the interrogatories at issue regarding trade secret information, and

what vendor or other party will execute the data retrieval, Plaintiff’s counsel exchanged various

emails and correspondence with Defendant’s counsel, in an effort to determine if Defendant was

willing to provide the requested reports and information and also agree to the third-party vendors

Plaintiff proposed to extract the reports and information.




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       In an effort to move things forward and in anticipation of filing a joint status report,

attorney Bisbikis asked attorney Christensen on July 7, 2020 whether Defendant planned to

respond to his last letter on these issues dated July 6, 2000. (See Exhibit A)

       Attorney Christensen immediately responded with: “I am also very busy right now. I will

let you know if I can get back to you.” (See Exhibit B).

       By the end of the day on July 7, 2020, attorney Bisbikis still had not received a response

from attorney Christensen, and still hasn’t as of present. Nonetheless, counsel for Plaintiff sent

counsel for all Defendants a proposed joint status report for review and comment. (See Exhibit

C).

       On July 8, 2020 at approximately 9:29am, attorney Christensen responded to the email

enclosing the proposed joint status report and stated “I am working on this today. I will provide

my input later.” (See Exhibit D).

       At approximately 4:24pm, attorney Christensen sent a subsequent email stating his

refusal to submit a joint status report claiming, in part, that Bhatia’s proposed joint status report

was “barren of factual detail” and that “there is not time to attempt to work out what I believe are

fundamental differences in approach.” Instead, with flagrant disregard for your Honor’s order,

attorney Christensen informed Plaintiff’s counsel that he would be submitting his own report.

(See Exhibit E).

       Approximately one hour later, attorney Christensen filed his own nine-page status report

with 18 supporting exhibits. (Dkt. 153).

       Plaintiff submits that attorney Christensen’s actions in filing his own status report rather

than providing comments to Plaintiff’s counsel’s proposed joint status report violate the letter

and spirit of your Honor’s order.




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       We have reviewed Vaswani’s status report and disagree with his blatant

mischaracterizations. We recognize that a status report is not the time nor place to address the

various misstatements and mischaracterizations in his report, therefore, Plaintiff will not say

anything more than that we disagree and reserve the right to respond, should this Court feel a

response is necessary.

       The bottom line is that there are 6 pre-defined Google AdWords reports and other

information Plaintiff requested be extracted from the Google AdWords account by either of two

independent third parties Plaintiff proposed. Counsel for Defendant chose not to respond and

instead proceeded to file a status report that is argumentative and riddled with

mischaracterizations.

       Accordingly, Plaintiff provides a status report below. The report below is, verbatim, the

proposed joint status report that was sent to Plaintiff’s counsel on July 7, 2020 at 5:47pm.

       I. Magistrate Judge Jantz’ June 10, 2020 Order For the Parties to Meet and Confer

       Following the telephonic hearing, Magistrate Judge Jantz ordered the parties to meet and

confer regarding what historical data Plaintiff should have access to from the Google Adwords

account in order for Plaintiff to supplement the interrogatory responses at issue regarding the

trade secret information, and what vendor or other party will execute the data retrieval. (Dkt.

147). The parties were then instructed to file a joint status report updating Magistrate Judge

Jantz on the matters addressed above.

   1. On June 24, 2020, counsel for Raju Vaswani sent counsel for Sunil Bhatia a letter

enclosing (1) an excel spreadsheet containing a complete report of all data from Google Adwords

as of June 18, 2020; (2) an excel spreadsheet containing a full keyword report for the last 3 years

from Google Adwords as of June 18, 2020; (3) consolidated annual reports from MedValue’s




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Google Adwords account for 2017, 2018, 2019, and January-May, 2020; and (4) sample monthly

reports from MedValue’s Google Adwords account for the months of September 2019 to January

2020.

   2. On June 26, 2020, the parties set a meet and confer for July 1, 2020.

   3. In preparation for the meet and confer, counsel for Sunil Bhatia, John Bisbikis, sent a

letter to counsel for Raju Vaswani, Tom Christensen. Plaintiff requested a limited number of

reports and information from the MedValue Google Adwords account which was summarized on

“Exhibit A” to the letter and listed below:

        1. The following predefined reports for each of the identified time periods:

               - Predefined reports > Basic > Campaign Details
               - Predefined reports > Basic > Ad Group Details
               - Predefined reports > Basic > Search Keywords
               - Predefined reports > Basic > Audience
               - Predefined reports > Basic > Ad
               - Predefined reports > Locations > Geographic

        Time Periods:
              - From the start of the account through July 23, 2017
              - From the start of the account through July 26, 2017
              - From the start of the account through September 16, 2017
              - From the start of the account through October 23, 2017
              - From October 23, 2017 to present.

        2. A list of the Account’s negative keywords.

        3. An export of the current configuration of the account: A CSV file containing the data
           to show the current configuration of the account.

        4. Copies of any historical exports of the account configuration made from July 23, 2017
           to present.

        5. Export Change History Report, from July 23, 2016 to present.


   4. On July 1, 2020, counsel for Sunil Bhatia and counsel for Raju Vaswani conducted a

telephonic “meet and confer” regarding the pre-defined reports requested by Plaintiff. Per the



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parties’ discussions, Mr. Christensen indicated he would provide a current list of negative

keywords, an export of the account’s current configuration, and an export of the change history

report from July 23, 2016 to present. Mr. Christensen indicated he would have to consult with his

client regarding the production of any pre-defined reports and copies of any historical exports of

the account configuration made from July 23, 2017 to present.

   5. Following the telephonic meet and confer, counsel for Sunil Bhatia sent an email to

counsel for Raju Vaswani memorializing the call. In that email, Mr. Bisbikis noted that the

parties ran short on time and did not discuss what third-party vendor could be used to obtain and

provide the reports. Mr. Bisbikis requested Defendant to provide a list of any third-party vendor

they would like Plaintiff to take under consideration.

   6. On July 2, 2020, counsel for Raju Vaswani, sent a follow-up email in which he attached a

zip file containing negative key words and change history in excel.

   7. In response to Defense counsel’s July 2, 2020 letter, counsel for Sunil sent a letter on July

6, 2020 addressing Defendant’s concerns and requests for clarifications. In addition, Plaintiff

contended that the zip file was not sufficient as it was not extracted and produced by a neutral

third-party vendor, as ordered by Magistrate Judge Jantz.

   8. Lastly, a third-party vendor has not been selected as of date. Plaintiff has provided

Defendant with the names of two vendors to run the reports and retrieve the requested

information. Defendant has not confirmed whether they are going to agree to the requests and

haven’t responded to Plaintiff’s proposals for a third party vendor. Accordingly, it is still

unknown which third-party vendor will extract the requested files and how long that process will

take.

        II. Judge Dow’s Ruling on Plaintiff’s Motion for Reconsideration




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       On or about September 25, 2019, the Court dismissed numerous state law claims in this

case for lack of subject matter jurisdiction, including state law claims in Plaintiff’s complaint and

claims in Defendant’s first amended counterclaim against Sunil Bhatia and third-party complaint

against Varsha Bhatia.

       On or about October 24, 2019, Plaintiff moved for reconsideration of the dismissal of his

state-law claims against Defendant.

       On July 1, 2020, the Court granted Sunil’s motion, in part, and reinstated Sunil’s state

law claims in Counts V through VIII in the second amended complaint (Dkt. 152). The Court

also reinstated counts I, II, III and V in Raju’s first amended counterclaim and third-party

complaint.

       Plaintiff contends, in light of Judge Dow’s recent decision,that the landscape of the case

has changed significantly. Because the information Plaintiff asked for in discovery applies to

both the newly reinstated claims and the trade secret claims, discovery should proceed.

Defendant’s argument that they do not need to provide discovery responses until the trade secrets

are identified with sufficient particularity is moot.



Dated: July 8, 2020                                Respectfully submitted,

                                                       /s/ John G. Bisbikis

                                                   Michael I. Leonard
                                                   John G. Bisbikis
                                                   Rebecca S. Chacko
                                                   LEONARDMEYER LLP
                                                   120 North LaSalle, Suite 2000
                                                   Chicago, Illinois 60602
                                                   (312) 380-6559
                                                   mleonard@leonardmeyerllp.com
                                                   jbisbikis@leonardmeyerllp.com
                                                   rchacko@leonardmeyerllp.com
                                                   Attorneys for Plaintiff, Sunil Bhatia


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                          CERTIFICATE OF SERVICE


       The undersigned states that, on July 8, 2020, she caused the above to be served on

Defendants’ counsel of record by way of ECF filing it.




                                                 By: /s/ Rebecca S. Chacko




                                            7
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                EXHIBIT A
7/8/2020       Case: 1:18-cv-02387 DocumentLeonard
                                            #: 154   Filed:
                                                   Meyer      07/08/20
                                                         LLP Mail            Page
                                                                  - Fwd: Bhatia        9 of 18 PageID #:1925
                                                                                v. Vaswani



  From: John Bisbikis <jbisbikis@leonardmeyerllp.com>
  Sent: Tuesday, July 7, 2020 1:42 PM
  To: Tom Christensen <tchristensen@huckbouma.com>
  Cc: Mike Leonard <mleonard@leonardmeyerllp.com>; Jenna Wadulak <jwadulak@huckbouma.com>; Timothy D. Elliott
  <TElliott@rathjewoodward.com>; Natalie White <NWhite@huckbouma.com>
  Subject: Bhatia v. Vaswani



  Tom: I received your email and letter yesterday. I am presently preparing for a hearing in another case tomorrow and am
  then going to be out of town for about 10 days. We will respond to your letter within 30 days.



  Please let me know if you plan to respond to my letter from yesterday afternoon concerning the meet-and-confer and the
  reports and information we are requesting.



  Sincerely,



  John




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                   EXHIBIT B
7/8/2020        Case: 1:18-cv-02387 Document Leonard
                                             #: 154Meyer
                                                     Filed:  07/08/20
                                                         LLP Mail           Page
                                                                  - Fwd: Bhatia       11 of 18 PageID #:1927
                                                                                v. Vaswani

  From: Tom Christensen <tchristensen@huckbouma.com>
  Date: Tue, Jul 7, 2020 at 1:43 PM
  Subject: RE: Bhatia v. Vaswani
  To: John Bisbikis <jbisbikis@leonardmeyerllp.com>
  CC: Mike Leonard <mleonard@leonardmeyerllp.com>, Jenna Wadulak <jwadulak@huckbouma.com>, Timothy D. Elliott
  <TElliott@rathjewoodward.com>, Natalie White <NWhite@huckbouma.com>



  I am also very busy right now. I will let you know if I can get back to you.




  Tho m as A. Christensen
  Senio r Directo r

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  1755 South Naperville Road, Suite 200, Wheaton, IL 60189

  Phone: 630.221.1755 | Direct: 630.344.1152 | Fax: 630.221.1756 | E-mail:tchristensen@huckbouma.com

  Please visit our website at: www.huckbouma.com


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  From: John Bisbikis <jbisbikis@leonardmeyerllp.com>
  Sent: Tuesday, July 7, 2020 1:42 PM
  To: Tom Christensen <tchristensen@huckbouma.com>
  Cc: Mike Leonard <mleonard@leonardmeyerllp.com>; Jenna Wadulak <jwadulak@huckbouma.com>; Timothy D. Elliott
  <TElliott@rathjewoodward.com>; Natalie White <NWhite@huckbouma.com>
  Subject: Bhatia v. Vaswani



  Tom: I received your email and letter yesterday. I am presently preparing for a hearing in another case tomorrow and am
  then going to be out of town for about 10 days. We will respond to your letter within 30 days.



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7/8/2020       Case: 1:18-cv-02387 Document Leonard
                                            #: 154Meyer
                                                    Filed:  07/08/20
                                                        LLP Mail           Page
                                                                 - Fwd: Bhatia       12 of 18 PageID #:1928
                                                                               v. Vaswani
  Please let me know if you plan to respond to my letter from yesterday afternoon concerning the meet-and-confer and the
  reports and information we are requesting.



  Sincerely,



  John




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Case: 1:18-cv-02387 Document #: 154 Filed: 07/08/20 Page 13 of 18 PageID #:1929




                EXHIBIT C
7/8/2020      Case: 1:18-cv-02387 Document
                                      Leonard#: 154
                                             Meyer LLPFiled:   07/08/20
                                                       Mail - Bhatia v. VaswaniPage      14 Report
                                                                                - Joint Status of 18 PageID #:1930


                                                                                   Rebecca Chacko <rchacko@leonardmeyerllp.com>



  Bhatia v. Vaswani - Joint Status Report
  10 messages

  Rebecca Chacko <rchacko@leonardmeyerllp.com>                                               Tue, Jul 7, 2020 at 5:47 PM
  To: Mike Leonard <mleonard@leonardmeyerllp.com>, John Bisbikis <jbisbikis@leonardmeyerllp.com>, Tom Christensen
  <tchristensen@huckbouma.com>, "Timothy D. Elliott" <telliott@rathjewoodward.com>, Jenna Wadulak
  <jwadulak@huckbouma.com>

    Counsel,

    Per Magistrate Judge Jantz' order, the parties are to submit a joint status report updating her on the issues discussed
    during the June 10th hearing. Attached please find a draft joint status report.

    Please redline any revisions or additions so they can be easily identified by all parties. If you have any questions or
    concerns, please let me know.

    Thanks,
    Rebecca Chacko

    --


    o. 312.943.4888
    www.leonardmeyerllp.com



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               EXHIBIT D
7/8/2020       Case: 1:18-cv-02387 Document
                                       Leonard#: 154
                                              Meyer LLPFiled:   07/08/20
                                                        Mail - Bhatia v. VaswaniPage      16 Report
                                                                                 - Joint Status of 18 PageID #:1932


                                                                                  Rebecca Chacko <rchacko@leonardmeyerllp.com>



  Bhatia v. Vaswani - Joint Status Report
  Tom Christensen <tchristensen@huckbouma.com>                                                 Wed, Jul 8, 2020 at 9:29 AM
  To: Rebecca Chacko <rchacko@leonardmeyerllp.com>, Mike Leonard <mleonard@leonardmeyerllp.com>, John Bisbikis
  <jbisbikis@leonardmeyerllp.com>, "Timothy D. Elliott" <telliott@rathjewoodward.com>, Jenna Wadulak
  <jwadulak@huckbouma.com>


    John and Mike,



    I am working on this today. I will provide my input later today.




    Tho m as A. Christensen

    Senio r Directo r

    HUCK BOUMAPC
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                 EXHIBIT E
7/8/2020      Case: 1:18-cv-02387 Document
                                      Leonard#: 154
                                             Meyer LLPFiled:   07/08/20
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                                                                                - Joint Status of 18 PageID #:1934


                                                                                  Rebecca Chacko <rchacko@leonardmeyerllp.com>



  Bhatia v. Vaswani - Joint Status Report
  Tom Christensen <tchristensen@huckbouma.com>                                                 Wed, Jul 8, 2020 at 4:23 PM
  To: Rebecca Chacko <rchacko@leonardmeyerllp.com>, Mike Leonard <mleonard@leonardmeyerllp.com>, John Bisbikis
  <jbisbikis@leonardmeyerllp.com>, "Timothy D. Elliott" <telliott@rathjewoodward.com>, Jenna Wadulak
  <jwadulak@huckbouma.com>


    Counsel,

    I reviewed the joint status report that you sent me at almost 6:00 the day before it was due. Respectfully, it is completely
    barren of factual detail which we believe the Court needs to address the matters at hand, and there is not time to attempt
    to work out what I believe are fundamental differences in approach. Accordingly, we will be submitting our own report later
    today.




    Tho m as A. Christensen

    Senio r Directo r

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           A TTORNEYS A T LAW

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    From: Rebecca Chacko <rchacko@leonardmeyerllp.com>
    Sent: Tuesday, July 7, 2020 5:47 PM

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